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                     UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF COLORADO

In re:                                        ) Bankruptcy Court Case No. 17-17630-MER
Witt, Matthew Curtis                          ) Chapter 7
SSN: xxx-xx-4130,                             )
                   Debtor.                    )

        MOTION TO ALLOW LATE FILED REAFFIRMATION AGREEMENT

       COMES NOW, Matthew Curtis Witt, Debtor, by and through his attorney, Parnell &
Associates, P.C., and submits this Motion to Allow Late Filed Reaffirmation Agreement and in
support thereof sets forth the following:

        1.      Debtor filed a voluntary petition for relief under Chapter 7 of Title 11 of the
United States Code in the above-captioned action on August 18, 2017. The originally scheduled
date for the hearing required by 11 U.S.C. was September 12, 2017.

         2.       Pursuant to 11 U.S.C. 524(c)(1), reaffirmation agreements must be filed prior to
entry of the discharge order. However, Federal Rule of Bankruptcy Procedure 4008 further
restricts the filing by requiring the reaffirmation agreement to be filed within 60 days of the
originally scheduled date for the § 341(a) meeting. In this instance, the 60th day fell on a
weekend. Pursuant to the Rule, the last day to file the reaffirmation agreement was November
13, 2017.

        3.    Debtor executed and delivered a reaffirmation agreement to his mortgage lender
prior to November 13, 2017. Earlier this month, counsel was informed the reaffirmation
agreement was not filed because the loan was transferred and a new reaffirmation agreement was
required. Debtor has now received, executed and delivered that agreement to the lender.

         4.      Seemingly, the purpose of Rule 4008 is to insure reaffirmation agreements are
filed prior to the entry of the discharge order. The discharge order cannot be entered prior to the
filing of the debtor education certificate by the Debtor. Debtor has completed the course and
obtained the certificate. Counsel has held off filing the certificate so that this issue can be
resolved. By separate motion, counsel will request an extension to comply with the deadline set
to file the certificate.

       5.     Debtor expects the lender will be able to file the reaffirmation agreement by the
end of next week.

      WHEREFORE, Debtor requests that the Court allow the filing of the reaffirmation
agreement on any date up to and including December 29, 2017.
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Dated: December 18, 2017          By: /s/ Charles S. Parnell
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